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                              United States Bankruptcy Court
                                Eastern District of Virginia
                                         Alexandria
                                     ________________ Division

In re: Anthony F Ford
       Kim A Kieklak                                                        18-12013-BFK
                                                               Case Number ________________
       Debtor(s)                                               Chapter ____
                                                                       7

                                               ORDER

                                August 28, 2018
       A hearing was held on ______________________, pursuant to the Order Setting Hearing
entered by the Clerk.

    The debtor(s) appeared at the hearing.

✔   The debtor(s) did not appear at the hearing.

    Counsel for the debtor(s) appeared at the hearing.

         For the reasons stated on the record from the bench, the Court ORDERS:

    The debtor(s) shall cure the following deficiency(ies) on or before    ____________________

         see attached Exhibit A:




Failure to timely cure each deficiency listed above will result in the above-captioned
bankruptcy case being dismissed without further notice or hearing.

✔   The case is dismissed because the debtor(s) failed to appear at the hearing; and it is further

    The case is dismissed; and it is further

       ORDERED that the debtor(s) pay the balance of the filing fee in the amount of
$______________
      -0.00-    to the Clerk of Court within 14 days of the date of this order; and it is further

       ORDERED that dismissal of this case revests the property of the estate in the entity in
which such property was vested immediately before the commencement of the case. The trustee
need not file a final report unless property or money was administered.

      Sep 7 2018
Date: ____________________                     /s/ Brian F. Kenney
                                               _________________________________
                                               United States Bankruptcy Judge

                                               NOTICE OF JUDGMENT OR ORDER
                                                                  September 10, 2018
                                               ENTERED ON DOCKET: ___________________
[opursosethrg ver. 07/18]
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Exhibit A
